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                      IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA
                                                     :
RICHARD A. GORMAN,                                   :
                                                     :
                 Plaintiff,                          :
                                                     :
v.                                                   :
                                                     : Case No.: 2:20-cv-04759-JCJ
ILYA SHPETRIK,                                       :
                                                     :
                                                     :
                 Defendant.                          :
                                                     :
                                                     :

                             MOTION FOR THE ADMISSION
                      PRO HAC VICE OF MATTHEW J. PRESS, ESQUIRE


        I, Matthew Faranda-Diedrich, undersigned counsel for Defendant Ilya Shpetrik

(“Defendant”), hereby move, pursuant to Local Rule 83.5.2(b) of the Local Rules of Civil

Procedure of the United States District Court for the Eastern District of Pennsylvania and item

1(D) of the Court’s Policies and Procedures, for the admission pro hac vice of Matthew J.

Press, Esquire, a partner in the law firm of Press Koral LLP, as counsel for Ilya Shpetrik1.

        In support of this Motion, I hereby certify as follows:

        1.         I am an attorney admitted to practice in good standing before this Court.

        2.         My appearance has been entered in this case.

        3.         Defendants require this motion because Mr. Press has represented Defendants

and is familiar with the facts, circumstances, allegations, and defenses in this matter.

        4.         Mr. Press is an attorney practicing in the law firm of Press Koral LLP.

        5.         Mr. Press offers the accompanying Affidavit in support of this Motion.




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  Defendants enter the appearance of its counsel without waiver of, and expressly preserving, all defenses and
objections, including but not limited to as relating to the jurisdiction of this Court.

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          6.         I will serve as associate counsel for Mr. Press pursuant to Local Rule Civ. P.

83.5.2.

          7.         Mr. Press is an active member in good standing of the bar of the State of New

York and he is of the highest professional character.

          WHEREFORE, I respectfully request that this Court grant the Motion, admit Mr. Press pro

hac vice to the Bar of this Court for the purposes of this case only, and enter an Order in the form

attached hereto.


                                              Respectfully submitted,

                                         By: /s/ Matthew Faranda-Diedrich
  Dated: February 10, 2021                    Matthew Faranda-Diedrich, Esquire
                                              PA Id. No. 203541
                                              ROYER COOPER COHEN BRAUNFELD LLC
                                              Two Logan Square
                                              100 N. 18th St., Suite 710
                                              Philadelphia, PA 19103
                                              267-546-0275 (phone); 484-362-2630 (fax)
                                              Attorneys for Defendant Ilya Shpetrik




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion for the Admission Pro

Hac Vice of Matthew J. Press has been filed electronically and is available for viewing and

downloading from the ECF system to all counsel of record.




                                            By: /s/ Matthew Faranda-Diedrich
                                            Matthew Faranda-Diedrich, Esquire
                                            PA Id. No. 203541
                                            ROYER COOPER COHEN BRAUNFELD LLC
                                            Two Logan Square
                                            100 N. 18th St., Suite 710
                                            Philadelphia, PA 19103
                                            267-546-0275 (phone); 484-362-2630 (fax)
                                            Attorneys for Defendant Ilya Shpetrik




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